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                                                              ILLINOIS STATE POLICE TraCS Report Number: F09-22-00932
                                                                                Field Report Number:
                                                                                                         22-40046402647
                                                                                  FIELD REPORT                                               CAD Number:              0000024041

Type of                                                                                                                                                                     Supplemental
Report(s): Criminal, DUI

ORI Number                                                      Work Unit                                                               How Notified
IL0849900                                                       9 - District 9                                                           Other
Incident Date                           Incident Time                          Initial Notification Date                 Initial Notification Time              Firearm Offense
11/08/2022                              7:40 PM                                11/08/2022                                7:40 PM
Location Description                                                                                          GPS Latitude                                 GPS Longitude
I-55 S/B NEAR MILEPOST 89                                                                                     39.6939669189717                             -89.6422973116687
County in which Incident Occurred          Township                                   City                                              Location Type
SANGAMON                                   CAPITAL TWP                                SPRINGFIELD                                       HIGHWAY/ROAD/ALLEY
Associated Reports :            Agency Name                                    Reference Type                                                Reference Number
1.)
2.)
3.)
4.)
Brief Description of Report
Arrest of Shane J. Woods for Reckless Homicide, Aggravated DUI Causing Death, and DUI




Use of Force?                 What Type(s) of Force were Used?
      Yes        No

ALPR Used         ALPR Location
      Yes
                                                                                             PERSON 1
Type of Person                                                                                                                                                             Caution
DEFENDANT
Last Name                                                    First Name                                                           Middle Name                              Suffix
WOODS                                                        SHANE                                                                J
Alias(es)                                                                                                             Business/Organization


DOB Known? Date of Birth           Age or Lower Age Range       Upper Age Range                     Gender            Race                                     Ethnicity
YES              01/16/1978        44                                                               MALE              UNKNOWN
Skin Tone                            Height      Weight      Hair Color                                      Eye Color                     Build                      Marital Status
                                     5' 11''     200 LBS BLACK                                               GREEN
Scars/Marks/Tattoos (select up to 10)




Address                                                                                      City                                                             State         Zip Code
15511 KENNEDY RD                                                                             AUBURN                                                           IL            62615
Place of Birth                                           Resident Status                                     Other Contact Information
US - UNITED STATES
Home/Cell Phone #                                     SSN                                                      Drivers License Number                                 License State
                                                                                                               W32079078016                                           IL
ISP ticket #                            FBI #                                  BOI/SID #                                 LEADS #                               NCIC #
0046401403
Employer or School                                                                              Occupation


Address                                                           City                                              State      Zip Code                 Work Phone #


Type of Injury (up to 5)                                                                                                              Address where treatment given

OTHER MAJOR INJURY                                                                                                                    Memorial Medical Center




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                                                      Document   41-2 Filed 11/16/22 Page 2 of 11
                                                             INFORMATION
Offender Arrested? Type of Arrest                                                             Arrest Date     Arrest Time         Bond                            Bond Amount
YES                   SUMMONED/CITED                                                          11/08/2022 10:41 PM                 NO BOND
Miranda?              Miranda By                                                                                            Miranda Date    Miranda Time          Fingerprinted
                      B. KEANE                                                                                              11/09/2022      12:06 AM              NO
Court Date            Where Held                                                                    Juvenile Arrestee Disposition
12/14/2022            MEMORIAL MEDICAL CENTER
Arrestee Armed?       Arrestee Armed With (up to 2)


3 Calls Given?        If Calls Not Given, Reason Why.
NO                    RECEIVING MEDICAL TREATMENT
Calls Refused?        If Calls Were Refused, Reason Why.


                                                                                  OFFENSE 1
Ordinance    Code Section                   Charges/                                                                                                       Attempted or Completed
State        720-5/9-3(a)                   Offense RECKLESS HOMICIDE                                                                                      COMPLETED
UCR                                                            Offender Suspected Of Using (up to 3)
Offense
        NEGLIGENT MANSLAUGHTER - 09B
                                                               ALCOHOL
Gang Related     Gang Name                                                               Gang Information (up to 2)


Type Of Criminal Activity (up to 3)                                                      Type Of Weapon/Force Involved (up to 3)
None/Unknown                                                                             MOTOR VEHICLE
Method Of Entry                           Number Of Premises Entered        Exceptionally Cleared                                                  Date Cleared Exceptionally
     Force            No Force                                              NOT APPLICABLE
                                                                                  OFFENSE 2
Ordinance    Code Section                   Charges/                                                                                                       Attempted or Completed
State        625-5/11-501(A)                Offense AGGRAVATED DUI - ACCIDENT CAUSING DEATH                                                                COMPLETED
UCR                                                            Offender Suspected Of Using (up to 3)
Offense
        NEGLIGENT MANSLAUGHTER - 09B
                                                               ALCOHOL
Gang Related     Gang Name                                                               Gang Information (up to 2)


Type Of Criminal Activity (up to 3)                                                      Type Of Weapon/Force Involved (up to 3)
None/Unknown                                                                             MOTOR VEHICLE
Method Of Entry                           Number Of Premises Entered        Exceptionally Cleared                                                  Date Cleared Exceptionally
     Force            No Force                                              NOT APPLICABLE
                                                                                  OFFENSE 3
Ordinance    Code Section                   Charges/                                                                                                       Attempted or Completed
State        625-5/11-501(A)(2)             Offense DUI - ALCOHOL - 1ST OR 2ND OFFENSE                                                                     COMPLETED
UCR                                                            Offender Suspected Of Using (up to 3)
Offense
        DRIVING UNDER THE INFLUENCE - 90D
                                                               ALCOHOL
Gang Related     Gang Name                                                               Gang Information (up to 2)


Type Of Criminal Activity (up to 3)                                                      Type Of Weapon/Force Involved (up to 3)


Method Of Entry                           Number Of Premises Entered        Exceptionally Cleared                                                  Date Cleared Exceptionally
     Force            No Force                                              NOT APPLICABLE
                                                                                 PERSON 2
Type of Person                                                                                                                                          Caution
VICTIM
Last Name                                                 First Name                                                    Middle Name                     Suffix
WEGNER                                                    LAUREN                                                        A
Alias(es)                                                                                                   Business/Organization


DOB Known? Date of Birth         Age or Lower Age Range      Upper Age Range           Gender               Race                                Ethnicity
YES              05/27/1987      35                                                    FEMALE               WHITE
Skin Tone                             Height    Weight    Hair Color                             Eye Color                      Build               Marital Status
                                      5' 10''   165 LBS BROWN                                    BLUE
Scars/Marks/Tattoos (select up to 10)




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Address                                                                                     City                                                                State        Zip Code
117 PAYTON DR APT 302                                                                       CLAYTON                                                             NC           27527
Place of Birth                                           Resident Status                                    Other Contact Information


Home/Cell Phone #                                    SSN                                                      Drivers License Number                                 License State
                                                                                                              000047415124                                           NC
ISP ticket #                            FBI #                                   BOI/SID #                               LEADS #                                  NCIC #


Employer or School                                                                             Occupation


Address                                                            City                                            State      Zip Code                   Work Phone #


Type of Injury (up to 5)                                                                                                             Address where treatment given

KILLED

                                                                                  VICTIM INFORMATION
Type of Victim
INDIVIDUAL
Victim Connected to UCR Offense Codes:
UCR Offense Code 1                      UCR Offense Code 2                      UCR Offense Code 3                      UCR Offense Code 4                       UCR Offense Code 5
09B
UCR Offense Code 6                      UCR Offense Code 7                      UCR Offense Code 8                      UCR Offense Code 9                       UCR Offense Code 10


Aggravated Assault/Homicide Circumstances (up to 2)
OTHER NEGLIGENT KILLINGS
Additional Justifiable Homicide Circumstances


First Offender Seq. #         Victim's Relationship to First Offender                               Second Offender Seq. #           Victim's Relationship to Second Offender
001                           VICTIM WAS STRANGER                                                   001                              VICTIM WAS STRANGER
Third Offender Seq. #         Victim's Relationship to Third Offender                               Fourth Offender Seq. #           Victim's Relationship to Fourth Offender


Fifth Offender Seq. #         Victim's Relationship to Fifth Offender                               Sixth Offender Seq. #            Victim's Relationship to Sixth Offender


Seventh Offender Seq. # Victim's Relationship to Seventh Offender                                   Eighth Offender Seq. #           Victim's Relationship to Eighth Offender


Ninth Offender Seq. No.       Victim's Relationship to Ninth Offender                               Tenth Offender Seq. #            Victim's Relationship to Tenth Offender


                                                                               SPECIAL CIRCUMSTANCES
NOT APPLICABLE                           BIAS CRIME                            DOMESTIC ABUSE                              LEOKA (Law Enforcement Officer Killed and Assaulted)
Bias Motivation
NONE (NO BIAS)(MUTUALLY EXCLUSIVE)
Children Present                                                                                    Sequence Number of the Domestic Abuse Offender


Domestic Abuse Referrals (up to 6)


Officer Killed or Assaulted                                                                         Call Type


Type Of Assignment                                                                                  Body Armor


                                                                                            PERSON 3
Type of Person                                                                                                                                                            Caution
VICTIM                                                                                                                                                                    No
Last Name                                                     First Name                                                         Middle Name                              Suffix
ROUSTIO                                                       STEVE                                                              T
Alias(es)                                                                                                            Business/Organization


DOB Known? Date of Birth           Age or Lower Age Range        Upper Age Range                   Gender            Race                                        Ethnicity
YES               08/29/1961       61                                                              MALE              WHITE
Skin Tone                            Height       Weight      Hair Color                                    Eye Color                     Build                      Marital Status
                                     6' 00''      225 LBS GRAY OR PARTIALLY GRAY                            BLUE

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Scars/Marks/Tattoos (select up to 10)




Address                                                                                     City                                                             State        Zip Code
2627 DELMAR AVE                                                                             GRANITE CITY                                                     IL           62040
Place of Birth                                           Resident Status                                    Other Contact Information


Home/Cell Phone #                                    SSN                                                      Drivers License Number                                 License State


ISP ticket #                            FBI #                                   BOI/SID #                               LEADS #                               NCIC #


Employer or School                                                                             Occupation


Address                                                            City                                            State      Zip Code                 Work Phone #


Type of Injury (up to 5)                                                                                                             Address where treatment given

OTHER MAJOR INJURY                                                                                                                   Memorial Medical Center

                                                                                  VICTIM INFORMATION
Type of Victim
INDIVIDUAL
Victim Connected to UCR Offense Codes:
UCR Offense Code 1                      UCR Offense Code 2                      UCR Offense Code 3                      UCR Offense Code 4                    UCR Offense Code 5
09B
UCR Offense Code 6                      UCR Offense Code 7                      UCR Offense Code 8                      UCR Offense Code 9                    UCR Offense Code 10


Aggravated Assault/Homicide Circumstances (up to 2)
OTHER NEGLIGENT KILLINGS
Additional Justifiable Homicide Circumstances


First Offender Seq. #         Victim's Relationship to First Offender                               Second Offender Seq. #        Victim's Relationship to Second Offender
001                           VICTIM WAS STRANGER                                                                                 VICTIM WAS STRANGER
Third Offender Seq. #         Victim's Relationship to Third Offender                               Fourth Offender Seq. #        Victim's Relationship to Fourth Offender
001
Fifth Offender Seq. #         Victim's Relationship to Fifth Offender                               Sixth Offender Seq. #         Victim's Relationship to Sixth Offender


Seventh Offender Seq. # Victim's Relationship to Seventh Offender                                   Eighth Offender Seq. #        Victim's Relationship to Eighth Offender


Ninth Offender Seq. No.       Victim's Relationship to Ninth Offender                               Tenth Offender Seq. #         Victim's Relationship to Tenth Offender


                                                                               SPECIAL CIRCUMSTANCES
NOT APPLICABLE                           BIAS CRIME                            DOMESTIC ABUSE                              LEOKA (Law Enforcement Officer Killed and Assaulted)
Bias Motivation
NONE (NO BIAS)(MUTUALLY EXCLUSIVE)
Children Present                                                                                    Sequence Number of the Domestic Abuse Offender


Domestic Abuse Referrals (up to 6)


Officer Killed or Assaulted                                                                         Call Type


Type Of Assignment                                                                                  Body Armor


                                                                                            PERSON 4
Type of Person                                                                                                                                                          Caution
VICTIM
Last Name                                                     First Name                                                         Middle Name                            Suffix
ROUSTIO                                                       KATHRYN                                                            A
Alias(es)                                                                                                            Business/Organization


DOB Known? Date of Birth           Age or Lower Age Range        Upper Age Range                   Gender            Race                                     Ethnicity
YES               05/29/1968       54                                                              FEMALE            WHITE
Skin Tone                            Height       Weight      Hair Color                                    Eye Color                     Build                      Marital Status
                                     5' 06''      145 LBS BROWN                                             GREEN

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Scars/Marks/Tattoos (select up to 10)




Address                                                                                     City                                                         State     Zip Code
2627 DELMAR AVE                                                                             GRANITE CITY                                                 IL        62040
Place of Birth                                           Resident Status                                 Other Contact Information


Home/Cell Phone #                                    SSN                                                    Drivers License Number                             License State


ISP ticket #                            FBI #                                   BOI/SID #                           LEADS #                               NCIC #


Employer or School                                                                             Occupation


Address                                                            City                                         State       Zip Code              Work Phone #


Type of Injury (up to 5)                                                                                                       Address where treatment given

OTHER MAJOR INJURY                                                                                                             Memorial Medical Center

                                                                                  VICTIM INFORMATION
Type of Victim
INDIVIDUAL
Victim Connected to UCR Offense Codes:
UCR Offense Code 1                      UCR Offense Code 2                      UCR Offense Code 3                  UCR Offense Code 4                    UCR Offense Code 5
09B
UCR Offense Code 6                      UCR Offense Code 7                      UCR Offense Code 8                  UCR Offense Code 9                    UCR Offense Code 10


Aggravated Assault/Homicide Circumstances (up to 2)
OTHER NEGLIGENT KILLINGS
Additional Justifiable Homicide Circumstances


First Offender Seq. #         Victim's Relationship to First Offender                              Second Offender Seq. #     Victim's Relationship to Second Offender
001                           VICTIM WAS STRANGER
Third Offender Seq. #         Victim's Relationship to Third Offender                              Fourth Offender Seq. #     Victim's Relationship to Fourth Offender


Fifth Offender Seq. #         Victim's Relationship to Fifth Offender                              Sixth Offender Seq. #      Victim's Relationship to Sixth Offender


Seventh Offender Seq. # Victim's Relationship to Seventh Offender                                  Eighth Offender Seq. #     Victim's Relationship to Eighth Offender


Ninth Offender Seq. No.       Victim's Relationship to Ninth Offender                              Tenth Offender Seq. #      Victim's Relationship to Tenth Offender


                                                                               SPECIAL CIRCUMSTANCES
NOT APPLICABLE                           BIAS CRIME                            DOMESTIC ABUSE                           LEOKA (Law Enforcement Officer Killed and Assaulted)
Bias Motivation
NONE (NO BIAS)(MUTUALLY EXCLUSIVE)
Children Present                                                                                   Sequence Number of the Domestic Abuse Offender


Domestic Abuse Referrals (up to 6)


Officer Killed or Assaulted                                                                        Call Type


Type Of Assignment                                                                                 Body Armor




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                                                   VEHICLE41-2
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Vehicle Year      Make                      Model                                                        Style
2018              GMC                       SIERRA                                                       TRUCK
License Plate #                             State              License Plate Year   Color(s)
2013330B                                    IL                 2022                 BLACK
VIN #                          Impounded?   Impound Location                                                                             Towed?
2013330B                       NO                                                                                                        YES
Owner Last Name                             First Name                                              Middle Name                  Suffix
WOODS                                       SHANE                                                   J
Street                                                                                                                           State
15511 KENNEDY RD                                                                                                                 IL
City                                        Zip Code                          Phone Number                        Vehicle Tied to Person(s)
AUBURN                                      62615                        (217) 000-0000                           001
                                                                 NARRATIVE

The purpose of this report is to document the arrest of Shane J. Woods (M/B DOB: 01/16/1978) for Reckless
Homicide, Aggravated Driving Under the Influence of Alcohol Causing Death, and Driving Under the Influence of
Alcohol.

The following is a summary of the incident:

On Tuesday November 8, 2022 at approximately 7:40 P.M. Troopers from Illinois State Police District 9 were
dispatched to the report of a traffic crash with injuries on I-55 southbound near Milepost 89, Sangamon County.
District 9 Communications further advised a vehicle was on fire and there was entrapment. It was reported
Divernon Police Officer P. Hurley #634 had conducted a traffic stop on a black 2018 GMC pickup truck (IL Reg.
2013330B) on I-55 prior to the crash. I was advised that during the traffic stop Hurley had detected the odor of
alcoholic beverage coming from the driver. I learned the GMC fled the traffic stop, entered I-55 the wrong way
through the Exit 88 ramp, drove northbound in the southbound lanes on the interstate, and caused a multi vehicle
traffic crash which resulted in a fatality in one vehicle, injuring two occupants in a separate vehicle, and injuring
the at fault driver. A/M/Sgt. C. Chapman completed the on-scene crash report and supplemental field report (A-09-
22-01066). Illinois State Police Zone 4 Investigations were notified of the incident and responded.

At approximately 8:42 P.M. I, Trooper B. Keane #6880 was requested by A/M/Sgt. D. Kovack to respond to
Memorial Medical Center in Springfield to assist in the investigation of the traffic crash.

I responded to Memorial Medical Center and was able to identify the driver of the at fault vehicle as Shane J.
Woods. Woods was laying on a hospital bed in a cervical collar and still receiving care. I was advised that medical
staff had collected toxicology during the normal course of treatment and revealed a .177 blood alcohol serum.
Woods was transferred to another treatment room and without the nurse’s knowledge visitors entered his room.
Nurses requested the visitors exit but prior to them leaving and while I was standing in the doorway of the
treatment room, I overheard Woods speaking with a visitor, a white, middle age female, with blonde hair. During
the conversation, I heard Woods state that he had intended on crashing his vehicle into a truck tractor semi-trailer.

Based on Woods being reported as having the odor of an alcoholic beverage, fleeing from a traffic stop, traveling
the wrong way on the interstate, and having a blood alcohol content above .08, at 10:41 P.M. I entered Wood’s
hospital room and issued him a citation for driving on wrong side of road, failure to reduce speed to avoid an
accident, and driving under the influence of alcohol. At 10:42 P.M. I read Woods the Warning to Motorist. Woods
stated he understood the Warning and refused to submit to chemical tests. While Woods was laying on the hospital
bed, he signed the Warning to Motorist.

I provided Woods his copy of the warning to motorist, sworn report, and signed receipt to drive. Woods was served
his immediate summary suspension.

At 12:06 A.M. I read Woods his Miranda Rights from the Illinois State Police Custodial Interrogation Warning.
Woods confirmed he understood his rights and refused to answer any questions.


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M/Sgt. NeighboursCase   1:21-cr-00476-APM
                  advised  me later that an open Document  41-2canFiled
                                                 12oz Bud Light         11/16/22
                                                                    had been locatedPage  7 ofproperty
                                                                                     with the  11      that had
been in Woods’ vehicle at the crash scene.

I issued Woods the following citations:

#0046401403 - DUI - Alcohol
#0046401404 - Failure to Reduce Speed to Avoid an Accident
#0046401405 - Driving on Wrong Side of Road
#0046401406 - Possession of Open Alcohol by Driver

I confirmed with Southern Illinois University School of Medicine Doctor Dela Cruz that he was aware of Woods’
driving behavior and statements about an intentional traffic crash. Dela Cruz advised me Woods would be seen for
psychiatric care.

Due to Woods receiving prolonged medical treatment I spoke with Doctor Dela Cruz and Doctor Jeisy who were
both working in the Emergency Room. The doctors advised if Woods were to be moved from his room to an
inpatient room or released from medical care, they would contact District 9 Communications. I provided the
Doctors the contact information to District 9 telecommunications. Woods is still being treated at Memorial for
injuries sustained in the crash and will be taken into custody following release.

It should be noted through the course of the investigation I learned that Woods was a defendant in the January 6th,
2021 US Capitol Riots and was anticipating a sentence which may have been motive for the intentional traffic
crash.

The following reports were also completed reference this incident:

Divernon Police Officer P. Hurley #634 - #2022-1319

Sangamon County Deputy K. Allison #SG216 - #SG22-33522

Illinois State Police District 9 A/M/Sgt. C. Chapman #5605 - A09-22-01066 / Supplemental Report

Illinois State Police Traffic Crash Reconstruction Unit Report

Illinois State Police Zone 4 Investigations Special Agent L. Bloomfield #6751 Report

Illinois State Police District 9 Commercial Vehicle Enforcement Officer Trooper W. Smith #5361 -Inspection
#IL4109480626



                                                                                        OFFICER
Officer Name                                Officer ID      Assisting Officer Name(s)                                 Assisting Officer ID(s)
B KEANE                                     6880
Date report completed         Accept Date                Supervisor                                                             Officer ID
11/10/2022                    11/10/2022                 C NEIGHBOURS                                                           6299
Video Taken:                                  Video Number:                                Evidence Seizure:        Photos:


Case Status                                                                                Copies To:
CLEARED BY ARREST                                                                          SANGAMON COUNTY S/A

Investigating Officer (Signature)




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                                       ATTACHMENT
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